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                                                           November 2, 2020

VIA ECF
                                                 MEMORANDUM ENDORSED
Hon. Gregory H. Woods
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

                         Re:     United States v. Otoniel Burgos, 19 Cr. 306 (GHW)

Dear Judge Woods:

Counsel for the government has pointed out that because of Covid restrictions persons who travel
internationally are not permitted in the courthouse until 14 days have passed since their return to the
United States. This Court, based on my request, rescheduled the sentencing in this case to
November 10, 2020. I was unaware at the time I filed the letter of the Covid restriction related to
international travel. I returned to the country on the evening of October 30, 2020. Therefore, to
comply with Covid restrictions, I would not be permitted to enter the courthouse until November 13
at the earliest. Therefore, I am requesting a brief adjournment to allow for my self-quarantine to
end and for me to be able to enter the courthouse.

Thank you for considering this request.

                                                          Sincerely,

                                                          MICHELMAN & ROBINSON, LLP


Application granted. The sentencing hearing scheduled for November 10, 2020 is adjourned
to November 19, 2020 at 10:00 a.m.

SO ORDERED.

Dated: November 5, 2020                 _____________________________________
New York, New York                             GREGORY H. WOODS
                                              United States District Judge
